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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

)
CRANE SECURITY )
TECHNOLOGIES, INC. and VISUAL )
PHYSICS, LLC, )
)
Plaintiffs, )
)
Vv. ) Civil Action No. 14-12428-LTS
)
ROLLING OPTICS AB, )
)
Defendant. )
)
VERDICT FORM
May 9, 2018

As to each Question, please place a check mark beside the appropriate response or provide a
numerical response, as applicable.

We, the jury have reached the following unanimous verdicts:
Findings on Crane’s Infringement Claims

Active Inducemené of Infringement

le With respect to each of the following products imported into the United States by third
farties, did Crane prove by a preponderance of the evidence that Rolling Optics actively
induced infringement?

 

 

 

 

 

 

 

 

 

 

 

 

Product Yes No
1.a. | UGG labels NES
1.b. | Hennessy labels MES
1.c. | Pierce Atwood labels YES
1.d. | Luna di Luna labels AS
L.e. | Blu Giovello labels YES
L.f. | Taiitinger labels UCS

 

Fraceed te Question 2.
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Actual Notice of Infringement

2. Did Crane prove by a preponderance of the evidence that it provided actual notice of
infringement to Rolling Optics in the April 26, 2010 letter?

_ NS YES _C—Ci‘(UNNOD

Proceed to Question 3.

Damages
3. For the relevant time period, what amount of damages do you find, by a preponderance of
the evidence, Crane has proven from (1) Rolling Optics’ direct infringement of Crane’s

patents and (2) any product(s) with respect to which you have determined that Crane
actively induced infringement of Crane’s patents?

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Proceed to Question 4.

Willful Infringement

4, Has Crane proven by a preponderance of the evidence that Rolling Optics willfully
infringed one or more claims of one or more Crane patents?

WES YES NO

Proceed to Question 5.
Findings on Rolling Optics’ Invalidity Defenses

Prior Art Anticipation

Be a. Has Rolling Optics proven by clear and convincing evidence that claim 62 of the ‘360
Patent is anticipated by the Matsumoto Japanese patent application?

YES No NO

 

 
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b. Has Rolling Optics proven by clear and convincing evidence that claim 63 of the ‘360
Patent is anticipated by the Matsumoto Japanese patent application?

YES 0 NO

c. Has Rolling Optics proven by clear and convincing evidence that claim 62 of the ‘360
Patent is anticipated by the Drinkwater patent?

YES 0 NO

d. Has Rolling Optics proven by clear and convincing evidence that claim 63 of the ‘360
Patent is anticipated by the Drinkwater patent?

YES __Vv no
Proceed to Question 6.
On-Sale Bar

6. Has Rolling Optics proven by clear and convincing evidence the application of the on-
sale bar to any of the following asserted claims of the ‘842 Patent?

a. Claim 57 YES No NO
b. Claim 58 YES No NO
c. Claim 59 YES No NO
d. Claim 76 YES No NO
e. Claim 77 YES fo NO
f. Claim 78 YES No NO
g. Claim 79 YES Wo NO

Proceed to Signature
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SIGNATURE

I certify that the above are the unanimous answers of the jury.

5\4i¢ Nw

DATE FOREPERSON’S SIGHATWRE

 

When you have completed the verdict form please inform the Court Security Officer that you
have reached a verdict.
